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 6
     Attorneys for Defendant, Kevin Lay, Jr.

 7                               UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA                             CASE NO.: 2:20-cr-00115-KJD-NJK
                     Plaintiff,
10
     vs.
                                                               ORDER ON:
11                                                             STIPULATION TO CONTINUE
     KEVIN LAY, JR.,
                                                                 SENTENCING HEARING
12
                            Defendant(s).                            (Second Request)
13

14

15          IT IS HEREBY STIPULATED AND AGREED by and between, CHRISTOPHER
16   CHIOU, Acting United States Attorney, and Allison Reese, Assistant United State Attorney, on
17   behalf of the United States, and Nadia Ahmed, Esq, attorney for Defendant Kevin Lay, Jr., that
18   the sentencing and disposition hearing in the above captioned case, which is currently scheduled
19
     for November 16, 2021, at 11:30AM, be continued and reset to a date and time convenient to the
20
     Court, but not less than fourteen (14) days from the current setting.
21
            The Stipulation is being entered for the following reasons:
22
            1.      Defendant entered a plea of guilty and sentencing was set by this Court for
23
     November 16, 2021. Defendant was interviewed by a United States Probation Officer and a Pre-
24
     Sentence Investigation Report has been prepared. Assistant Federal Public Defender Heidi
25
     Ojeda represented Mr. Lay, Jr. throughout these events.
26
            2.      On September 14, 2021, current defense counsel was appointed by the Court to
27

28   represent Defendant in this matter, replacing Ms. Ojeda.



                                                      1
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 1          3.      Mr. Lay’s new counsel needs additional time to meet with her client and prepare
 2
     for further proceedings in this case.
 3
            3.      Defendant is in custody and does not object to the continuance.
 4

 5          4.      This continuance is not sought for purposes of delay, but rather to allow sufficient

 6   time for Mr. Lay’s counsel to represent him in this case effectively.
 7
            5.      This is the first request to continue the sentencing hearing in this matter.
 8
            RESPECTFULLY SUBMITTED this 5th day of November, 2021.
 9
                                                           /s/ Nadia Ahmed
10
                                                           NADIA AHMED, ESQ.
11                                                         Sklar Williams LLP
                                                           Nevada Bar No. 15489
12                                                         Attorneys for Defendant, Kevin Lay, Jr.
13
                                                           CHRIS CHIOU
14                                                         UNITED STATES ATTORNEY

15                                                         /s/ Allison Reese
                                                           ALLISON REESE
16
                                                           Assistant United State Attorney
17                                                         Attorney for Plaintiff

18

19
                                                  ORDER

20           FINDING GOOD CAUSE, IT IS THEREFORE ORDERED that the sentencing
21   hearing in the above-captioned matter currently scheduled for November 16, 2021, at 11:30AM,
22
     be vacated and continued to a date and time convenient to this Court, but not less than fourteen
23
     (14) days from the current setting, that is January 11, 2022 at the hour of 10:00 a.m..
24

25                                           IT IS SO ORDERED this 8th day of November, 2021.
26

27                                           ________________________________
28
                                             UNITED STATES DISTRICT JUDGE



                                                      2
